






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00029-CR






In re Mario F. Menchaca






FROM THE DISTRICT COURT OF LAMPASAS COUNTY, 27TH JUDICIAL DISTRICT

NO. 7825, HONORABLE JOE CARROLL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


		Mario Menchaca appeals from the district court's order denying post-conviction DNA
testing.  Menchaca's court-appointed attorney filed a brief concluding that the appeal is frivolous and
without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738 (1967), by
presenting a professional evaluation of the record demonstrating why there are no arguable grounds
to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d 807
(Tex.&nbsp;Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State,
485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969). 
The principles of Anders have been extended to include appeals of a trial court's ruling on a
motion&nbsp;for post-conviction DNA testing.  See Murphy v. State, 111 S.W.3d 846, 847-48
(Tex.&nbsp;App.--Dallas 2003, no pet.).

		Menchaca received a copy of counsel's brief and was advised of his right to examine
the appellate record and to file a pro se brief.  Having reviewed the record, counsel's brief, and
Menchaca's pro se brief, we agree that the appeal is frivolous and without merit.  We find nothing
in the record that might arguably support the appeal.  See Bledsoe v. State, 178 S.W.3d 824, 826-27
(Tex. Crim. App. 2005).  Counsel's motion to withdraw is granted.

		The order denying DNA testing is affirmed.



						___________________________________________

						Diane M. Henson, Justice

Before Chief Justice Jones, Justices Waldrop and Henson

Affirmed

Filed:   January 13, 2010

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